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UN|TED STATES D|STR|CT COURT

FOR THE D|STR|CT OF IDAHO

l\/|ELALEUCAl |NC., an Idaho corporation,
and MELALEUCA (CH|NA) WELLNESS
PRODUCTS CO., LTD., a wholly-owned
subsidiary of Me|a|euca, |nc.,

P|aintiffs,
v.

KOT NAM SHAN, an individua|, and
SHAKLEE CORP., a De|aware
corporation,

Defendants.

 

 

Case No. 4:18-cv-00036-DCN

|V|EMORANDUM |N SUPPORT OF
DEFENDANT KOT NAM SHAN’S
N|OT|ON TO D|SM|SS F|RST AMENDED
COMPLA|NT

|V|EMORANDUM |N SUPPORT OF DEFENDANT KOT NAM SHAN’S
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l. lNTRODUCTION

Defendant Kot Nam Shan (“Mr. Kot”) files this brief in support of his motion to
dismiss the first amended complaint (“FAC”) of plaintiffs Me|a|euca, |nc. (“|Vle|aleuca,
lnc.”) and Me|a|euca (China) Wellness Products Co.l Ltd. (“Me|aleuca (China)”)
(collectively, “Plaintiffs”). The FAC is the latest in Me|a|euca, lnc.’s pattern of playing
fast and loose with facts and evidence to facilitate its improper blocking of Mr. Kot’s right
to earn a living.

Me|a|euca, lnc. initiated this action in state court on January17, 2018, alleging
breach of and tortious interference with a pair of contracts that Mr. Kot and defendant
Shak|ee Corporation (“Shak|ee”) (collective|y, “Defendants”) have repeatedly shown are
unenforceable against Mr. Kot (the “2010 Agreements"). With a tactic it still has not
explained, Me|a|euca, |nc. hid the existence of the most recent agreements “made
between [Mr. Kot] and Me|a|euca, lnc., a corporation incorporated under the laws of
the state of idaho in the United States, and . . . affiliates including [Melaleuca
(China)]” in 2011 (the “2011 Agreements”) and convinced the state court to issue a
temporary restraining order that disrupted Defendants’ personal and professional
livelihoods. Not until this week-over a month later and only after Defendants apprised
this Court of the 2011 Agreements-did Me|a|eucal lnc. include the 2011 Agreements in
its FAC.

Plaintiffs have raised the possibility of Mr. Kot causing harm (e.g., raiding of
l\/lelaleuca distributors (“Marketing Executives”)) but have not shown any such actual
harm (no proof that Shak|ee hired a single Nlarketing Executive). The sole potential
exception was Plaintiffs’ repeated reference to lVlr. Kot’s disclosure of Me|a|euca

(China)’s financial performance (Dkt. 39 at 20-21.) But it turns out that this allegedly

MEN|ORANDUN| lN SUPPORT OF DEFENDANT KOT NAM SHAN’S
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secret information, Me|a|euca (China)’s financial performance-for 2017l an annual
sales figure of RMB 5 billion-is publicly available on|ine in Chinese at
http://uprich.com/index.php?m=lndex&a=article&id=5899&type=1. (Kot Decl. 11 25.)
P|aintiffs’ new argument that the 2011 and 2010 agreements are separately and
concurrently enforceable is similarly disingenuous
On the one hand, Me|a|euca, |nc. has distanced itself from its subsidiaries to

oppose the argument that the 2011 Agreements supersede the 2010 Agreements, by
asserting that the 2011 Agreements only bind Mr. Kot and Me|a|euca (China). ln fact,
Me|a|euca, lnc. recently argued that it and Me|a|euca (China) were wholly separate and
rai|ed against Shak|ee’s purportedly improper effort to “conflate Mela|euca[, lnc.] and its
subsidiary”:

Shak|ee’s various arguments about jurisdiction and venue

turn entirely on the question of which contracts app|y: the

2010 agreements between Mela|euca[, lnc.] and Mr. Kot that

are the subject of this lawsuit, or separate agreements

between Mr. Kot and a different party altogether-

Mela|euca[, |nc.]’s China subsidiary. . . . [Shak|ee] seeks to

conflate Mela|euca[, lnc.] and its subsidiary, and thus

ignores proper corporate form.
(Dkt. 30 at 4 (citation omitted).) But on the other hand, in their FAC filed on February
19, 2018, Plaintiffs describe Me|a|euca, lnc.’s control over Me|a|euca (China)’s

operationsl including employment decisions and conclude that Me|a|euca, |nc. jointly

employed Mr. Kot:

The decision to promote Kot [to a position with Me|a|euca
(China)] was made by Me|a|euca, [lnc.] . . . lndeed,
Mela|euca[, lnc.] exerts control over many key aspects of
Me|a|euca China’s employment decisions, including
interviewing candidates and making hiring and placement
decisions. Additionally, Mela|euca[, lnc.] directs the
development of its subsidiaries’ standardized policies, forms,
and other information that affect employee experience

l\/|EN|ORANDUN| |N SUPPORT OF DEFENDANT KOT NAlV| SHAN’S
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Once again, Mela|euca[, lnc.] executives determined the
terms of Kot’s offer [with Me|a|euca (China)].

_(Dkt. 40-2 at 5.) Me|a|euca, lnc. cannot have it both ways. lt cannot expect anyone to
believe that it is wholly separate, “a different party altogether” from its subsidiaries on
one day, but so closely related that it “exerts control over many key aspects of
Me|a|euca China’s employment decisions” the next day. More importantly, if such
mental gymnastics were possible, then Me|a|euca, lnc. could have exercised its control
to direct that any reference to Me|a|euca, lnc. in the 2011 Agreements be deleted before
their execution. lnstead, it allowed itself to be identified as a party to the 2011
Agreements (presumab|y to facilitate its imposition of restrictive covenants against Mr.
Kot). Me|a|euca, |nc. cannot now simply ignore the terms of its own 2011 Agreements
because it does not want to abide by the terms that require litigating any disputes with
l\/lr. Kot in China.

Neither the new allegations nor the addition of Me|a|euca (China) as a plaintiff in
the FAC can rescue the lawsuit from dismissal. The undisputed facts-especially the
validity of the 2011 Agreements which have the same titles, deal with the same subject
matters, use nearly identical language as the 2010 Agreements, and contain integration
clauses-still show that this action must be dismissed There is simply no personal
jurisdiction over l\/lr. Kot, an individual who currently resides in Asial has lived his entire
life in Asia, and has worked for Chinese entities for over the past seven years, since
April 2011, supervising Chinese employees and interacting with Chinese Marketing
Executives. (See generally Dkt 6.) Yet, P|aintiffs continue their efforts to force a foreign
individual to litigate in a foreign country (i.e., the United States) in his third language

(i.e., English) based on the forum selection clauses of the 2010 Agreements-which

MEMORANDUIV| |N SUPPORT OF DEFENDANT KOT NAN| SHAN’S
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have been superseded by the 2011 Agreements, were never binding, or expired by their
own terms--and on (most charitably put) misleading allegations that are constitutionally
insufficient to create jurisdiction over Mr. Kot.1

Mr. Kot respectfully requests that this Court put a stop to P|aintiffs’ unjustified
disruption of his livelihood by dismissing P|aintiffs’ FAC and having the parties move
forward to adjudicating their disputes as contractually agreed in China. As described in
greater detail belowl four separate and independent grounds mandate dismissal of the
FAC: (1) lack of personal jurisdiction; (2) failure to join a party under Federal Ru|e of
Civil Procedure 19; (3) forum non conveniens; and (4) insufficient service of process.

ll. RELEVANT FACTS
A. Mr. Kot Has Lived and Worked His Entire Life in Asia.

Mr. Kot currently resides in Shanghai, China, which is 15 hours ahead of
Pocate||o, idaho in time. (Kot Decl. 11 2.) He has lived and worked his entire life in Asia.
(/d.) Mr. Kot is a Chinese citizen. (/d.) With the exception of occasional business travel
and leisure travel with his family, Mr. Kot has never lived or stayed in the United States
for a prolonged period of time (ld. 11 3.) Cantonese is his first language, Mandarin
Chinese is his second language, and English is his third and weakest language. (/d.)
Mr. Kot currently works for Shak|ee (China) Co. Ltd. in its Shanghai office (/d.)

B. Me|a|euca, |nc. Was Never Mr. Kot’s Emp|oyer.

From approximately May 17, 2010 to April 12, 2011, Mr. Kot worked in Malaysia

 

1 P|aintiffs have not even performed their part of the bargain (paying Mr. Kot’s monthly
base compensation) required to make Mr. Kot’s non-compete obligations enforceable
under the 2011 Agreements P|aintiffs have also yet to explain why no one paid Mr. Kot
even after filing the initial complaint on January 17, 2018. Simply put, there is no
enforceable non-compete agreement against l\/lr. Kot, (See infra at 5-8.)

|V|EN|CRANDUN| |N SUPPORT OF DEFENDANT KOT NAM SHAN’S
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for Me|a|euca (Ma|aysia). (ld. 11 4.) Short|y before Mr. Kot started his employment with
Me|a|euca (Ma|aysia), he was asked to sign two separate documents: (1) a Key
Emp|oyee Non-|nterference and Non-Competition Agreement, and (2) a Confidentia|ity
and Non-Solicitation Agreement. (ld. 11 5.) These 2010 Agreements were presented to
l\/lr. Kot in English only, and there was no negotiation about any of the terms in the 2010
Agreements. (ld.) Although Me|a|euca (Ma|aysia) was Mr. Kot’s sole employer, it is not
named as a party to the 2010 Agreements. (ld.) lnstead, the 2010 Agreements contain
only l\/lr. Kot’s signature and name only Me|a|euca, lnc. as a party. (ld.)

Around early 2011, Mr. Kot decided to accept an employment opportunity with
Me|a|euca (China) in China. (/d. 11 6.) Me|a|euca (China) initially hired Mr. Kot as an
Assistant General Manager of Market Deve|opment. (ld.) Mr. Kot acted under the
direction of General Manager Ted Lin (“Mr. Lin") until Mr. Lin left for a position in
Taiwan. (/d. 11 6.) Mr. Kot was then promoted to General Manager. (/d.)

At the beginning of Mr. Kot’s employment with Me|a|euca (China), on April 13,
2011, Mr. Kot was again asked to sign two agreements nearly identical to those he had
signed before he began his employment with Me|a|euca (Ma|aysia) (ld. 11 7.) Mr. Kot
signed and executed these agreements-the 2011 Agreements-in China. (/d.) Mr.
Kot received the 2011 Agreements in both Mandarin Chinese and English. (ld. 11 8.)
Again, there was no negotiation about any of the terms in the 2011 Agreements, (ld.)
The 2011 Agreements contain the same titles and deal with the same subject matters
as the 2010 Agreements. (/d.) One difference between them is that the non-compete
provision in the 2011 Agreements require Me|a|euca (China) to pay l\/lr. Kot a monthly

base compensation in order to impose non-compete obligations on Mr. Kot. (/d.) To

N|E|V|ORANDUl\/| |N SUPPORT OF DEFENDANT KOT NAM SHAN’S
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date, Mr. Kot has not been paid this monthly base compensation. (ld. 1111 22-23.)

Given that Mr. Kot had ended his employment with Me|a|euca (Ma|aysia) before
working for his new employer, Me|a|euca (China), Mr. Kot understood that his
relationship with his new employer would be guided only by the 2011 Agreements
(rather than the 2010 Agreements), id. 11 9, which by their language bound not only Mr.
Kot and Me|a|euca, |nc., but also “Nlela|euca, lnc.’s successors, assigns, current and
former, local and international affiliates including [Melaleuca (China)],” id. 1111 10-11, Exs.
A-B. Nobody told him othen/vise until this litigation began and Me|a|euca, lnc. argued
that the 2010 Agreements remain binding. (/d. 11 9.)

For over the next six years, Mr. Kot dedicated himself to working for Me|a|euca
(China) in Shanghai. (ld. 11 14.) During this period, all of Mr. Kot’s compensation came
solely from Me|a|euca (China). (ld.) Similarly, Mr. Kot’s compensation during his
employment with Me|a|euca (Ma|aysia) had come solely from Me|a|euca (Ma|aysia), not
Me|a|euca, |nc. (ld.) Me|a|euca, |nc. was never Mr. Kot’s employer, and Mr. Kot has
never received compensation from l\/le|aleuca, lnc. (ld.)

Mr. Kot also never viewed Me|a|euca, lnc. as his employer, (/d. 11 15.) The key
individuals whom Mr. Kot reported to and communicated withl such as Jerry Felton (“l\/lr.
Felton”), the President of Me|a|eucal lnc., held positions in Me|a|euca (China) and
Me|a|euca (Ma|aysia) (ld.) Mr. Felton is a Supervisor of Me|a|euca (China) and a
member of the board of directors of Me|a|euca (Ma|aysia) (ld. 1111 15-17, Exs. E-F.) lt
was only natural that Mr. Kot would receive business guidance from the officers and
directors of his employers, Me|a|euca (Ma|aysia) and Me|a|euca (China). (ld.)

l\/lr. Kot resigned from Nlelaleuca (China) in the fall of 2017, and his last day was

ME|V|ORANDUN| |N SUPPORT OF DEFENDANT KOT NA|V| SHAN’S
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November 15, 2017. (ld. 11 18.) A resignation certificate Nlr. Kot received at the time of
his departure from Me|a|euca (China) identifies only Me|a|euca (China) as l\/|r. Kot’s
employer. (/d. 1111 18-19, Ex. G.) On January 8, 2018, Mr. Kot began his new and
current employment with Shak|ee (China) Co., Ltd. (ld. 11 18.)

C. Mr. Kot Had Limited Contacts with |daho.

Mr. Kot traveled to the United States once or twice a year, but his contacts with
ldaho were limited. (ld. 11 20.) For example, he traveled annually to the United States
with Chinese customers for a convention, but stayed in Salt Lake City. (ld.) Me|a|euca
(China) paid for this trip. (/d.) The convention typically lasted four to five days and took
place in Salt Lake City. (ld.) Typical|y, there would be a short day trip by bus to idaho
for the customers to visit Me|a|euca, lnc.’s headquarters and distribution center. (ld.)
Before the convention, Mr. Kot and the Chinese customers spent about one to two days
visiting another location in the United States, such as San Francisco. (ld.)

Moreover, contrary to P|aintiffs’ representations, see Dkt. 1-6 at 25, Mr. Kot did
not receive extensive mentoring from Me|a|euca, lnc.’s employees in |daho, Kot Decl.
11 21. As discussed above, Mr. Kot’s interactions with Mr. Felton were necessary
because Mr. Felton held positions in Me|a|euca (China) and Me|a|euca (Ma|aysia). (ld.)
With respect to Me|a|euca, lnc.’s chief executive officerl Frank VanderSloot, Mr. Kot at
most talked to him two hours per year from 2011 to 2017. (/d.)

D. Me|a|euca (China) Had Every Opportunity to Make the 2011
Agreements’ Non-Compete Provision Enforceab|e, but

Decided Not to Take lt.
|n December 2017, when Mr. Felton asked Mr. Kot whether he intended to work

for Shak|ee, Mr. Kot responded truthfully that he could not guarantee that he would take

any job if a good opportunity came by. (ld. 11 22.) Mr. Felton asked Mr. Kot whether l\/lr.

N|EN|ORANDUM iN SUPPORT OF DEFENDANT KOT NAM SHAN’S
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Kot needed a copy of his non-competition and confidentiality agreements, and given
that Mr. Kot already had copies of the 2011 Agreements, Mr. Kot said no. (/d.) Despite
the alleged rumors Mr. Felton said he had heard about Mr. Kot’s offer from Shak|ee, Mr.
Felton never brought up the subject of paying Mr. Kot extra compensation to trigger Mr.
Kot’s non-compete obligations under the 2011 Agreements. (/d.)

|n January 2018, Mr. Felton contacted Mr. Kot to speak with him personally, but
Mr. Felton later canceled the meeting. (ld. 11 23.) Me|a|euca (China) had every
opportunity, including after the initial complaint was filed on January 17, 2018, to pay
the monthly base compensation required to make Mr. Kot’s non-compete obligations
enforceable (ld.) But Me|a|euca (China) never even mentioned or brought up the
subject of making the required payments for Mr. Kot’s non-compete obligations (ld.)

E. P|aintiffs’ Accusations that Mr. Kot Vio|ated His Non-
Solicitation and Confidentia|ity Obligations Are Baseless.

After Mr. Kot left Me|a|euca (China), he never solicited any Marketing Executives
to join his new employer, Shak|ee (China) Co. Ltd. (ld. 11 24.) He talked to some
Marketing Executives of Me|a|euca (China) following his departure, but these
interactions were social in nature; N|r. Kot never tried to convince them to leave
Me|a|euca (China) or any of its affiliates or to stop buying products from Me|a|euca
(China). (ld.) All of these individuals live and work in China. (/d.)

Mr. Kot has also never breached his confidentiality obligations to Me|a|euca
(China). (ld. 11 25.) Figures such as Me|a|euca (China)’s financial performance can be
found publicly on|ine, including its 2017 annual sales figure of RMB 5 billion. (ld.)

lll. ARGUMENT

A. No Persona| Jurisdiction over Mr. Kot Exists.

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“Where a defendant moves to dismiss a complaint for lack of personal
jurisdiction, the plaintiff bears the burden of demonstrating that jurisdiction is
appropriate.” Schwalzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir.
2004). Where, as here, there is no applicable federal statute governing jurisdiction, the
applicable law is the law of the state in which the district court sits. /d. Here in ldaho,
“the Court need only look to federal due process to determine personal jurisdiction.”
Wells Cargo, lnc. v. Transp. lns. Co., 676 F. Supp. 2d 1114, 1119 (D. idaho 2009).

The exercise of personal jurisdiction over a defendant comports with federal due
process only if the defendant “has certain minimum contacts with the relevant forum
such that maintenance of the suit does not offend traditional notions of fair play and
substantial justice.” Yahoo! lnc. v. La Ligue Contre Le Racisme Et L’Antisemitisme, 433
F.3d 1199, 1205 (9th Cir. 2006) (en banc) (interna| quotation marks omitted). Suchient
minimum contacts can result in general or specific jurisdiction, Rhino Metals, lnc. v.
Kodiak Safe Co., LLC, No. 1:16-285-EJL-REB, 2017 WL 2903339, at *5 (D. idaho Mar.
5, 2017) (citing Doe v. Unoca/ Corp., 248 F.3d 915, 923 (9th Cir. 2001)). General
jurisdiction applies if the defendant’s activities in the forum “are substantiall continuous
and systematic,” whereas specific jurisdiction applies if a defendant's “iess substantial
contacts with the forum give rise to the cause of action before the court." ld.

1. Mr. Kot Never Consented to Jurisdiction in idaho for His
Work in China.

A person may submit to a court’s jurisdiction in a state voluntarily or by being
domiciled in that state J. Mclntyre Machinery, Ltd. v. Nicastro, 564 U.S. 873, 880-81
(2011) (p|ura|ity opinion). Here, Mr. Kot resides in Shanghai, China, not ldaho, and he

has never consented to jurisdiction in idaho for his work in China.

MEMORANDU|V| |N SUPPORT OF DEFENDANT KOT NAM SHAN’S
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P|aintiffs contend that Mr. Kot consented to jurisdiction by signing the 2010
Agreements, which contain idaho forum selection clauses. (Dkt. 39 at 6.) The 2010
Agreements are no longer operative for at least three reasons. First, the 2011
Agreements made between Mr. Kot and “Meialeuca, lnc., and . . . affiliates including
[Melaleuca (China)]” supersede the 2010 Agreements, assuming the 2010 Agreements
were ever binding. (See Dkt. 6-1 at 9; Dkt. 28 at 15-16.) Second, the non-compete
obligations of Mr. Kot under the 2010 Agreements at issue were never enforceable
pursuant to i\/la|aysian lawl and in any case the 2010 Agreements were never binding
because they were not supported by consideration. (See Dkt. 28 at 16.) Third, the
2010 Agreements expired by their own terms a year after Mr. Kot started working for
Me|a|euca (China). (See Dkt. 28 at 15.)

a. The 2011 Agreements Supersede the 2010
Agreements.

lt “is a well settled principle that [a] later contract supersedes [a] former contract
as to inconsistent provisions.” NLRB v. lnt'/ Union of Operating Eng’rs Local No. 12,
AFL-ClO, 323 F.2d 545, 548 (9th Cir. 1963); see also Thomas v. Thomas, 150 idaho
636, 645 (2011) (“[A] contract may be set aside by a subsequently executed contract
which either deals with the subject matter of the prior contract so comprehensively as to
raise the inference of substitution or is so inconsistent with the prior contract that the
two cannot stand together." (citation omitted)).2 Extrinsic evidence regarding the
parties’ intent is admissible only if the language of the contract is ambiguous Foster v.

Johnstone, 107 idaho 61, 65 (1984) (“[Q]uestions of contract interpretation and meaning

 

2 Mr. Kot disputes that idaho law applies here, but even the application of idaho law
contracts law demonstrates that the 2010 Agreements are no longer enforceable

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may only become questions of fact where there has been found to be ambiguity in the
contract.”); see also 17A C.J.S. Contracts § 395 (2017) (“|t is the terms of the written
contract, not one of the parties' mental impressions that control its interpretation.”).

Herel the 2011 Agreements, which contain China forum selection ciauses, are
fully integrated agreements They have the same titles, deal with the same subject
matters (non-competition, non-solicitation, and confidentiality), and use nearly identical
language as the 2010 Agreements. Accordingly, the 2011 Agreements supersede the
2010 Agreements. Even if the 2010 Agreements were to survive, however, their idaho
forum selection clauses do not. The earlier idaho forum selection clauses are inherently
inconsistent with the later China forum selection clauses of the 2011 Agreements. A
non-exclusive provision cannot co-exist with a prior exclusive provision on the same
subject matter, because the exclusive provision would necessarily obviate the non-
exclusive provision and render it meaningless

Me|a|euca, lnc. argues that the 2010 Agreements were not superseded on the
grounds that it is not a party to the 2011 Agreements. This argument is meritless The
2011 Agreements plainly provide that they are “made between [Mr. Kot] and Me|a|euca,
lnc., and . . . affiliates including [Melaleuca (China)].” Further, Me|a|euca, lnc.’s
President has declared that Me|a|euca, lnc. “exerts control over many key aspects of
Me|a|euca China’s employment decisions, including interviewing candidates and
making hiring and placement decisions” (Dkt. 40-2 at 5 (emphasis added).) Given
Me|a|euca, lnc.’s self-professed control over Me|a|euca (China), including over
Me|a|euca (China)’s employment formsl Me|a|euca, inc. clearly chose to be a party to

the 2011 Agreements, and cannot disavow that now.

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b. The 2010 Agreements’ Non-Compete Provision
Was Not Enforceab|e, and in Any Case, the 2010
Agreements Were Never Binding.

The supersession discussion above assumes for the sake of argument that the
2010 Agreements were binding in the first place. But they were not. As an initial
matter, the non-compete provision under the 2010 Agreements, which Mr. Kot signed
shortly before he began his employment with Me|a|euca (Ma|aysia), was unlawful and
unenforceable from the beginning pursuant to Malaysian law. in Malaysia, “a covenant
in restraint of trade” is “void under [section] 28 of [its Contract] Act [1950]."3 (Coietti
Decl. 11 2, Ex. A (Vision Cast Sdn. v. Dynacast Melaka Sdn. Bhd. [2015] 1 iVlLJ 424) at
15.)

Regardiess, the 2010 Agreements were never binding because they were not
supported by consideration. “To be enforceable at law, an agreement must be
supported by valid consideration." Weisel v. Beaver Springs Owners Ass’n, lnc., 152
idaho 519, 526 (2012). The 2010 Agreements state the consideration for the contract
as Mr. Kot’s “empioyment or continued employment” with “Meialeuca, lnc." (Kot Decl. 11
12, Ex. C at 1; id. 11 13, Ex. D at 1.) But Me|a|euca, lnc. was never Mr. Kot’s employer.

Me|a|euca, lnc.’s application of the joint employer test to argue that it employed
Nir. Kot during his employment with its subsidiaries is inapposite here This test was

designed to effectuate the remedial purposes of the various employment statutes in the

 

3 Notwithstanding this well established rulel the i\lielaleuca entities apparently tried to
impose non-compete obligations on iVir. Kotl a worker in Malaysia, by having him sign
documents with idaho choice-of-law provisions with Me|a|euca, inc. These
circumstances further undercut Me|a|euca, lnc.’s arguments that it is not a party to the
2011 Agreements and that the 2010 and 2011 Agreements are separately enforceable
it is apparent that Me|a|euca, inc. sought to cure any challenge that Mr. Kot would have
to the enforceability of the 2010 Agreements’ non-compete provision under Malaysian
law by naming itself as a party to the 2011 Agreements governed by Chinese iaw.

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United States to allow individuals to remedy wrongs done by the actual persons who
affected their employment For example, when applying the joint employer, economic
realities test under the Fair Labor Standards Act (the “FLSA”), the Ninth Circuit has
stated that “[t]he definition of ‘empioyer’ under the FLSA is not limited by the common
law concept of ‘empioyer,’ and is to be given an expansive interpretation in order to
effectuate the FLSA’s broad remedial purposes.” Bonnette v. Ca/. Hea/th and
Welfare Agency, 704 F.2d 1465, 1469 (9th Cir. 1983) (emphasis added), abrogated on
other grounds by Garcia v. San Antonio Metro. Transit Auth., 469 U.S. 528 (1985); Ruiz
v. Fernandez, 949 F. Supp. 1055, 1064 (E.D. Wash. 2013). A parent company’s
attempt to enforce restrictive covenants in an agreement entered into by a subsidiary
and the subsidiaries’ employees was not a remedial purpose of the FLSA.

Moreover, Me|a|euca, lnc.’s position that it jointly employed Mr. Kot contradicts
its position that it is not a party to the 2011 Agreements. Me|a|euca, inc. has taken the
position for over one month that the 2011 Agreements apply only to Mr. Kot and
i\/leia|euca (China). But now, it asserts that it has executive control (inciuding with
employment decisions) over Me|a|euca (China) such as to make i\/lr. Kot its employee
if Me|a|euca, lnc. wishes to continue taking the position that it employed Mr. Kot, it must
concede that it is bound by the 2011 Agreements made between Mr. Kot and
“Meialeuca, lnc., and . . . affiliates including [Melaleuca (China)]."

c. Even if the 2010 Agreements Were Binding, They
Expired by Their Own Terms.

it is clear that the parties to the 2010 Agreements (which Mr. Kot signed a month
before joining Me|a|euca (l\/lalaysia)) are only iVlr. Kot and “Meialeuca, lnc.” The facts

here are simply that Me|a|euca, lnc. never employed |\llr. Kot, and the 2010

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Agreements-assuming they were ever binding as a result of Mr. Kot’s employment
with i\lle|aleuca (Ma|aysia)-expired by their own terms Mr. Kot was never told that he
would be an employee of Me|a|euca, lnc., Kot Decl. 11 5, and other than arguing it did,
Me|a|euca, lnc. has not proven facts demonstrating that it in fact was Mr. Kot’s
employer. Moreover, Mr. Kot’s communications with certain individuals employed by
i\/lelaieuca, inc. were not in their capacities as Me|a|euca, lnc. employees, but instead in
their positions as directors and officers of Me|a|euca (China) and Me|a|euca (Ma|aysia).

Thus, whichever position Me|a|euca, lnc. wishes to take-joint employer with or
“different party altogether” from its subsidiaries-the 2010 Agreements are no longer
enforceable Accordinglyl jurisdiction cannot be established over Mr. Kot by nature of
his consent based on his signing of the 2010 Agreements.

2. No Specific Jurisdiction over Mr. Kot Exists.

“in order for a court to exercise specific jurisdiction over a ciaim, there must be
an affiliation between the forum and the underlying controversy, principal|y, [an] activity
or an occurrence that takes place in the forum State.” Bristo/-Myers Squibb Co. v.
Superior Court of Cal, S.F. Cnty., 137 S. Ct. 1773, 1781 (2017) (internal quotation
marks omitted). “When there is no such connection, specific jurisdiction is lacking
regardless of the extent of a defendant’s unconnected activities in the State.” ld.
(emphasis added); see also Goodyear Dunlop Tires Operation, S.A. v. Brown, 564 U.S.
915, 931 n.6 (2011) (“[E]ven regularly occurring sales of a product in a State do not
justify the exercise of jurisdiction over a claim unrelated to those saies.”). The “primary
concern" with respect to the minimum contacts analysis is “the burden on the
defendant.” Brlstol-Myers Squibb, 137 S. Ct. at 1781.

The Ninth Circuit analyzes specific jurisdiction with a three-prong test: (1) the

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non-resident defendant must purposefully direct his activities or consummate some
transaction with the forum or resident thereof, or perform some act by which he
purposefully avails himself of the privilege of conducting activities in the forum; (2) the
claim must be one which arises out of or relates to the defendant's forum-related
activities; and (3) the exercise of jurisdiction must comport with fair play and substantial
justice Yahoo!, 433 F.3d at 1205-06. None of the three prongs is met here

a. There Has Been No Purposeful Avai|ment.

The first prong of the specific jurisdiction test is satisfied when “the defendant’s
conduct and connection with the forum State are such that he should reasonably
anticipate being haled into court there.” Terracom v. Va//ey Nat’l Bank, 49 F.3d 555,
560 (9th Cir. 1995). The U.S. Supreme Court, in Burger King Corp. v. Rudzewicz, 471
U.S. 462, 478 (1985), has held that the existence of a contract with a resident of the
forum state is insufficient by itself to create personal jurisdiction over the non-resident.
Moreover, the Ninth Circuit has indicated that personal jurisdiction may not be asserted
“whenever a foreign employee communicates with a corporation’s headquarters about
foreign operations.” Dole Food Co., /nc. v. Watts, 303 F.3d 1104, 1112 (9th Cir. 2002).
The Ninth Circuit has also concluded that “ordinarily use of the mails, telephone, or
other international communications simply do not qualify as purposeful activity invoking
the benefits and protection of the [forum] state." Peterson v. Kennedy, 771 F.2d 1244,
1262 (9th Cir. 1985) (internal quotation marks omitted).

Here, the 2010 Agreements are no longer enforceable-they were superseded
by the 2011 Agreements, were never binding, or expired by their own terms The 2011
Agreements, which were signed in China, call for the application of the laws of the

People’s Repub|ic of China and access to China’s courts See McG/inchy v. She/l

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Chem. Co., 845 F.2d 802, 816 (9th Cir. 1988) (finding no jurisdiction where contract
signed in forum because negotiated in Engiand, and execution and termination
conducted by mai|). P|aintiffs may contend that Mr. Kot purposely availed himself
through visits to idaho and discussions with employees of Me|a|euca, lnc. But these
visits to idaho were limited-for example a short day trip with Chinese customers-and
Mr. Kot’s discussions with employees of Me|a|euca, lnc., including Mr. Felton, were in
their capacity as officers and directors of Mr. Kot’s actual employers in China and
Malaysia, lVlost importantly, as explained beiow, the “affiliation between the forum and
the underlying controversy" is nowhere near sufficient. Bristol-Myers Squibb, 137 S. Ct.
at 1781.

b. P|aintiffs’ Claims Relate to Mr. Kot’s Activities in
China, Not in idaho.

For a court “to exercise jurisdiction consistent with due process, the defendant’s
suit-related conduct must create a substantial connection with the forum State.” Morrill
v. Scott Fin. Corp., 873 F.3d 1136, 1146 (9th Cir. 2017). Even if purposeful availment
were established here (it is not), the second factor of relatedness is not satisfied
Mela|euca’s claims against Mr. Kot relate to his activities in China-his current
employment with Shak|ee (China) Co. Ltd., the alleged disclosure of confidential
information in China (which information is publicly available in China), his meetings in
China with individuals who live and work in China, and his representations about his
future plans to an officer of a Chinese entity, Me|a|euca (China). Simply put, P|aintiffs’
claims against Mr. Kot do not arise out of i\/lr. Kot’s activities in ldaho.

c. lt Would Be Unreasonable to Exercise Jurisdiction
over Mr. Kot in |daho.

To determine the reasonableness of exercising jurisdiction over a defendant,

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courts consider the following factors: (1) the extent of the defendants purposeful
interjection into the forum state’s affairs; (2) the burden on the defendant of defending in
the forum; (3) the extent of conflict with the sovereignty of the defendant's state; (4) the
forum state’s interest in adjudicating the dispute; (5) the most efficientjudiciai resolution
of the controversy; (6) the importance of the forum to the plaintiff’s interest in convenient
and effective relief; and (7) the existence of an alternative forum. CE Distrib., LLC v.
New Sensor Corp., 380 F.3d 1107, 1112 (9th Cir. 2004). `

Here, these factors weigh heavily in favor of dismissal of this lawsuit: (1) as
discussed above, Mr. Kot has not purposely availed himself in ldaho; (2) it would be
greatly inconvenient for i\llr. Kot to continue litigating this matter in the United States,
given that he would need to fly over the Pacific and the burden of a day-night time
difference in communicating with his idaho counsel; (3) given that the 2011 Agreements
were signed in China, concern Mr. Kot’s employment in China with Me|a|euca (China), a
Chinese entity, and are governed by the laws of the People’s Republic of China, the
exercise of jurisdiction here by an idaho court would conflict with China’s sovereignty;
(4) there is little interest in ldaho’s adjudication of this dispute, which arises out of Mr.
Kot’s activities in China, not in ldaho; (5) judicial economy would be disserved by
adjudicating claims that are governed by Chinese law, and where the real parties in
interest-Mr. Kot, Me|a|euca (China), and Shak|ee (China) Co. Ltd.-are ali in China;
(6) Me|a|euca (China), a Chinese entity based in China, cannot reasonably dispute that
China is a more important forum than idaho for convenient and effective relief against a
Chinese citizen; and (7) an adequate alternative forum exists in China.

B. Regardiess of the Forum, This Action Should Not Move
FonNard Without indispensable Party Shak|ee (China) Co. Ltd.

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A party is necessary under Federal Rule of Civil Procedure 19(a) if it has an
interest in the action and resolving the action in his absence may as a practical matter
impair or impede his ability to protect that interest. Ru|e 19(b) provides four factors to
determine whether an action should be dismissed because a non-party is
indispensable (1) prejudice to any party or to the absent party; (2) whether relief can be
shaped to lessen prejudice; (3) whether an adequate remedy, even if not complete can
be awarded without the absent party; and (4) whether there exists an alternative forum.

Here, Shak|ee (China) Co. Ltd.-a Chinese entity and l\llr. Kot’s actual current
empioyer--is an indispensable party because its interest in continuing to employ Mr.
Kot may be impaired without its joinder. Also, if this action moves forward and factual
findings are made, it could later prejudice Shak|ee (China) Co. Ltd. if P|aintiffs decide to
file a separate lawsuit against Shak|ee (China) Co. Ltd. in China. Further, because
Shak|ee (China) Co. Ltd. is the business entity that employs Mr. Kot, it is doubtful that a
less prejudicial, adequate relief could be fashioned with only Shak|ee invoived. Lastly,
and as discussed below, China exists as an adequate alternative forum.

C. This Action Should Be Dismissed for Forum Non Conveniens.

“The forum non conveniens determination is committed to the sound discretion of
the trial court.” Piper Aircraft Co. v. Reynolds, 454 U.S. 235l 257 (1981). This
determination must be made with the examination of whether an adequate alternative
forum exists and whether the balance of private and public interest factors favors
dismissal. /d. Here, all factors favor dismissal.

First, China exists as an adequate alternative forum. Other federal courts have
held that China provides an adequate forum to resolve civil disputes, including

“straightforward contractual dispute with similarly uncomplicated ancillary tort claims

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that a Chinese court can adequately manage.” Huang v. Advanced Battery Techs., lnc.,
No. 09 CV 8279(HB), 2010 WL 2143669, at *5 (S.D.N.Y.); see also Sinochem /nt’l Co.
Ltd. v. Malaysia lnt’/ Shipping Corp., 549 U.S. 422, 435-36 (2007).

Second, the private interest factors here favor dismissal. Given that Mr. Kot’s
alleged breaches of the 2010 and 2011 Agreements took place in China, the relevant
witnesses and other evidence are most likely to be in China. lndeed, the Marketing
Executives whom Mr. Kot spoke with following his departure from Me|a|euca (China)
and who can testify that he never tried to solicit them all live in China. Also, it would be
cheaper to litigate this lawsuit in China, as the relevant witnesses, including Mr. Kot, live
there Moreoverl having all of the interested parties (which would include Shak|ee
(China) Co. Ltd. in this |awsuit) be in one location and adjudicate their claims in one
location as to avoid inconsistent obligations would be the most expeditious and least
expensive See Creatlve Tech., Ltd. v. Aztech Sys. Pte., Ltd., 61 F.3d 696, 703 (9th Cir.
1995) (iisting the private interest factors).

Lastly, the public interest factors favor dismissal. Here, P|aintiffs’ claims against
Defendants relate to Mr. Kot’s actions in China, not in idaho. Therefore, it would be
best to have this controversy localized in China be adjudicated in China. Also, as
P|aintiffs’ claims against Mr. Kot are governed by the laws of the People’s Republic of
China, judicial economy is disserved by adjudicating claims that are governed by the
laws of a foreign country. See Loya v. Stam/ood Hotels & Resorts Wor/dwide, lnc., 583
F.3d 656l 664 (9th Cir. 2009) (iisting the public interest factors).

D. Mr. Kot Has Stili Not Been Properly Served.
The burden is on P|aintiffs to prove that service was valid. See Brockmeyer v.

May, 383 F.3d 798, 801 (9th Cir. 2004). Here, P|aintiffs have still failed to properly

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serve Mr. Kot pursuant to the Hague Convention rules See Vo/kswagenwerk
Aktiengesellschaft v. Schlunk, 486 U.S. 694, 699 (1988) (“|t is mandatory to apply
the Hague Convention when both countries are signatories to the Convention.”).

Me|a|euca, lnc. has purported to have effectuated service on Mr. Kot by having a
private service deliver papers personally to him in Hong Kong. Multiple courts have
held that such service in Hong Kong does not comply with the Hague Convention. See,
e.g., Home Casua/ Enter. Ltd. v. Home Casual, LLC, No. 11-cv-661-wmc, 2012 WL
13042156, at *6 (W.D. Wis. Nov. 13, 2012);4 HCT Packaging v. TM lnt’l Trading Ltd.,
No. CV 13-08443 RGK (SHx), 2014 WL 12696776 at *6 (C.D. Cal. Mar. 10, 2014).

lV. CONCLUS|CN

For the foregoing reasons, Mr. Kot respectfully requests that this Court dismiss
this action based on any one or ali of the following separate and independent grounds:
(1) lack of personal jurisdiction; (2) failure to join party under Federal Rule of Civil

Procedure 19; (3) forum non conveniens; and (4) insufficient service of process

 

4 in Home Casua/ Enterprise Ltd. v. Home Casual, LLC, No. 11-cv-661-wmc, 2012 WL
13042156, at *6 (VV.D. Wis. Nov. 13, 2012), for example, the court dismissed a
complaint against parties who (like Mr. Kot) were personally served with court papers in
Hong Kong by a private process server. The court noted that while Articie 10(b) of the
Hague Convention authorizes service “directly through the judicial officers, officials or
other competent persons of the State of destination,” it applies “oniy if the Hague
Convention signatory does not object.” /d. at *5. The court then observed that China’s
acceptance of the Hague Convention on behalf of Hong Kong contained an express
reservation with reference to Articie 10(b), making clear that “documents for service
through official channels will be accepted in the Hong Kong Specia| Administrative
Region only by the Central Authority or other authority designated, and only from
judicial, consular or diplomatic officers of other Contracting States.” /d. The court ruled
that this reservation precluded use of private process servers under Articie 10(b), and
dismissed the complaint against the two parties personally “served” in Hong Kong. ld.

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DATED TH|S 26th day Of February, 2018.

HOPK|NS RODEN CROCKETT
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CERT|FICATE OF SERV|CE

l hereby certify that on the 26th day of February, 2018, l electronically filed the
foregoing with the Clerk of the Court using the CME/ECF system which sent a Notice of
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